
Nicholson, C. J.,
delivered the opinion of the Court.
Chris Hickerson was indicted in the Criminal Court at Clarksville, for selling spirituous liquors on Sunday.
The indictment does not designate any particular person to whom liquor was sold; but charges defendant generally with selling liquor on a specified Sunday. The indictment was quashed, as we suppose, because the person or persons to whom the liquor was sold, was not *376specified. The statute, under which the indictment was framed, was intended to prevent the desecration of the Sabbath, and to prevent disturbances of good order on that day. To prevent evasions of this statute, and to effectuate the object had in view, it is provided by sec. 48 tO, of the Code, that the statute shall be liberally construed. It is intended to punish those who sell, and not those who buy the liquor; those who desecrate the Sabbath by selling liquor. Giving to the statute, therefore, a liberal construction, we think it was not necessary to name the persons to whom the liquor was sold.
The judgment is reversed, and the case remanded.
